                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE


SignalQuest, Inc.

     v.                                  Civil No. 11-cv-392-JL
                                         Opinion No. 2015 DNH 020
Ten-Ming Chou,
OncQue Corporation,
and Bravotronics Corporation


                          MEMORANDUM ORDER

     This is a dispute over the construction of the claims of a

patent for a vibration switch, United States Patent No. 6,706,979

(filed Mar. 16, 2014).   The plaintiff, SignalQuest, Inc.,

commenced this action by way of a complaint for a declaratory

judgment that its products do not infringe the ‘979 patent, owned

(at that point) by defendant Ten-Ming Chou.   Chou, who is also

the patent’s named inventor, responded with a counterclaim

alleging that certain SignalQuest products, including its

“SQ-SEN-200 model number vibration switch,” in fact infringe the

‘979 patent.1   SignalQuest subsequently amended its complaint to

bring claims of patent infringement against defendant OncQue

Corporation (of which Chou is allegedly the chief executive

officer) and Chou, asserting that its products infringe patents

for an omnidirectional tilt and vibration sensor, which are owned

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     Bravotronics Corporation, to which Chou has since assigned
his interest in the ‘979 patent, was subsequently added as a
defendant and counterclaimant by way of the parties’ joint
motion. Order of Jan. 10, 2014.
by SignalQuest.2      This court has subject-matter jurisdiction

under 28 U.S.C. § 1338(a) (patents).

       The parties differ over the meaning of a number of terms as

they appear in the only independent claim of the ‘979 patent,

claim 1, as well as certain of its dependent claims.      The court

received briefing and conducted a hearing on this issue in

accordance with Markman v. Westview Instruments, Inc., 517 U.S.

370, 388 (1996), though the parties used the hearing solely to

present oral argument.       Based on those presentations, the court

arrives at the interpretations of the disputed claim terms

specifically set forth below.


I.     Applicable legal standard

       The meaning of language in a patent claim presents a

question of law for the court to decide.       Markman, 517 U.S. at

388.       “[T]he words of a claim are generally given their ordinary



       2
     These patents, United States Patent Nos. 7,067,748 (filed
June 27, 2006), 7,326,866 (filed Feb. 5, 2008), and 7,326,867
(filed Feb. 5, 2008), were the subject of reexamination
proceedings before the United States Patent and Trademark Office
filed after the commencement of this action. Based on the
pendency of those proceedings, the court had stayed litigation of
SignalQuest’s patent infringement claims here, but decided that
litigation of its claim for a declaration of non-infringement,
and Bravotronics’s corresponding infringement claim, should
proceed. Order of Apr. 29, 2014. Accordingly, this order
addresses the construction of the ‘979 patent only, with
construction of the other patents--which survived reexamination--
to await a later stage in the case, if necessary.

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and customary meaning,” i.e., “the meaning that the term would

have to a person of ordinary skill in the art in question at the

time of the invention.”     Phillips v. AWH Corp., 415 F.3d 1303,

1212-13 (Fed. Cir. 2005) (en banc) (quotation marks omitted).       In

arriving at this meaning,

     a claim construction analysis must begin and remain
     centered on the claim language itself, for that is the
     language the patentee has chosen to particularly point
     out and distinctly claim the subject matter which the
     patentee regards his invention. The claims, of course,
     do not stand alone. Rather, they are part of a fully
     integrated written instrument, consisting principally
     of a specification that concludes with the claims. For
     that reason, claims must be read in light of the
     specification, of which they are a part.

Source Vagabond Sys. Ltd. v. Hydrapak, Inc., 753 F.3d 1291, 1299

(Fed. Cir. 2012) (citations, quotation marks, and bracketing by

the court omitted).

     Yet “[w]hen consulting the specification to clarify the

meaning of claim terms, courts must take care not to import

limitations into the claims from the specification.”     Abbott

Labs. v. Sandoz, 566 F.3d 1282, 1288 (Fed. Cir. 2009) (en banc).

“It is therefore important not to confuse exemplars or preferred

embodiments in the specification that serve to teach and enable

the invention with limitations that define the outer boundaries




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of claim scope.”   Intervet Inc. v. Merial Ltd., 617 F.3d 1282,

1287 (Fed. Cir. 2010) (citing Phillips, 415 F.3d at 1323).3


II.   Background

      The ‘979 patent teaches “a vibration switch which can be

instantly disposed in a switch-off state when jerked by a force

coming from any direction.”   The invention consists of “two

electrically conductive rollable bodies which abut against two

tangential areas of two electric contact bodies to establish

electric contact between the electric contact bodies, and which

will lurch toward a farthermost area of a respective one of the

electric contact bodies when the vibration switch is in an

unsteady state so as to break the electric contact.”

      The patent consists of one independent claim, to wit:
      A vibration switch adapted to be in electric contact
      with a support, comprising:

      a housing adapted to be mounted on the support in an
      upright direction, and including an upper wall and a
      lower wall spaced apart from each other in the upright
      direction to confine an accommodation chamber;

      first and second electric contact bodies which are
      disposed in said accommodation chamber, and which

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     “In addition to consulting the specification, . . . a court
should also consider the patent’s prosecution history, if it is
in evidence.” Phillips, 415 F.3d at 1317. Here, the parties
have not submitted any prosecution history of the ‘979 patent,
which was allowed as originally filed. Nor, aside from a few
references to a general purpose dictionary, have the parties
submitted any extrinsic evidence, e.g., “expert and inventor
testimony, dictionaries, [or] learned treaties.” Id. at 1317.

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respectively have first and second rolling surfaces
that are spaced apart from each other along a
centerline oriented in one of the upright direction and
a longitudinal direction that is transverse to the
upright direction, said first and second rolling
surfaces respectively defining first and second
farthermost areas which are spaced apart from each
other by a first length along a centerline, and
respectively defining first and second tangential areas
being spaced apart from each other by a distance that,
when projected on a longitudinal line in the
longitudinal direction, is equivalent to a second
length; and

first and second electrically conductive rollable
bodies which are rollable on said first and second
rolling surfaces about first and second rolling axesm
respectively, and which respectively have first and
second perimetrical areas that are in contact with the
first and second rolling surfaces, respectively, and
first and second widths, each of said first and second
widths being defined by a distances that is between two
diametrically opposite points in a respective one of
said first and second perimetrical areas, sum of the
first width and the second width being smaller than the
first length and larger than the second length, such
that when the support on which said housing is mounted
stands still, said first and second electrically
conductive rollable bodies are tangent to each other,
and respectively abut against said first and second
tangential areas by virtue of gravity to thereby
establish electric contact between said first and
second electrical contact bodies, and such that once
the support is caused to quiver in an unsteady state,
said first and second electrically conductive rollable
bodies will be caused to lurch towards one of said
first and second farthermost areas so that one of said
first and second electrically conductive rollable
bodies is out of contact with a corresponding one of
said first and second rolling surfaces which defines
the other one of said first and second farthermost
areas, thereby breaking the electric contact between
said first and second electric contact bodies.




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III. Analysis

     As noted at the outset, the parties differ over the meaning

of a number of terms as they appear in claim 1 (and, in some

cases, of certain dependent claims) of the ‘979 patent.    The

court resolves those disputes as follows.


A.   Independent claim 14

     1.   “adapted to be mounted”

     The patent claims “[a] vibration switch adapted to be in

electric contact with a support, comprising,” among other

elements, “a housing adapted to be mounted on the support in an

upright direction.”   SignalQuest argues that this means “an

integrally formed extension of the housing itself mounts on the

support,” i.e., “[t]here is no separate and removable item

connecting the housing to the support.”   But the defendants

disagree, arguing that “adapted to be mounted” means simply

“capable of mounting.”   The court agrees with the defendants.

     Claim 1’s teaching that the “housing [is] adapted to be

mounted on the support” does not, as SignalQuest argues,

necessarily “mean[] that there is a physical limitation to the

housing itself”--as opposed to a structure that is added to but



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     Insofar as any of the terms construed in this section also
appear in dependent claims, the same construction applies.

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remains separable from the housing--to accomplish the mounting.

There is nothing inherent in the phrase “adapted to” that

requires an alteration of, rather than an addition to, that which

existed prior to the adaptation.

     As the Court of Appeals for the Federal Circuit has

observed, “[i]n common parlance, the phrase ‘adapted to’ is

frequently used to mean ‘made to,’ ‘designed to,’ or ‘configured

to,’ but it can also be used to mean ‘capable of’ or ‘suitable

for.’”   Aspex Eyewear, Inc. v. Marchon Eyewear, Inc., 672 F.3d

1335, 1349 (Fed. Cir. 2012) (citing Sta-Rite Indus., LLC v. ITT

Corp., 682 F. Supp. 2d 738, 753 (E.D. Tex. 2010)); Boston

Scientific Corp. v. Cordis Corp., No. 02-1474, 2006 WL 3782840,

at *2 (N.D. Cal. 2006)).   While SignalQuest cites these cases,

they do not support its construction of “adapted to” to exclude

“a separate and removable item.”       As one of the cases observes,

the terms “configured to” or “designed to” simply “embrace[] the

concept of a device intentionally and specifically made to act in

a certain way.”   Boston Scientific, 2006 WL 3782840, at *2.      That

definition readily fits a “housing adapted to be mounted” by

inserting an element into the housing to allow for mounting.

SignalQuest does not argue to the contrary.5


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     Instead, SignalQuest argues that these cases have
“universally rejected” the defendants’ proposed construction of
“adapted to” as “capable of.” That is not so, as the Federal

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     SignalQuest also points to the section of the specification

that describes the first preferred embodiment of the invention,

in which “[t]he housing is made from an electrically conductive

material, and is adapted to be mounted on a support.”   In

particular, this section of the specification teaches, a “first

electric terminal is integrally formed with the left end portion

of the housing, and has a connected end connected to the first

electric contact body, and a terminal end extending from the




Circuit’s Aspex Eyewear opinion demonstrates (in the foregoing
quotation as well as elsewhere). 672 F.3d at 1349 (observing
that “‘adapted to’” is sometimes used in claim drafting to carry
the broader meaning,” i.e., “‘suitable for’ rather than ‘made
to’”). It is true that, in Aspex Eyewear and the other cases on
which SignalQuest relies, the courts ultimately construed
“adapted to” to mean “designed to” or “configured to,” rather
than “capable of” or “suitable for,” but even the narrower
reading does not support SignalQuest’s proffered construction
here, as just explained in the main text. For the moment, then,
it is sufficient to reject SignalQuest’s proffered construction,
without deciding whether to adopt the defendants’ proposed
construction, of “adapted to.” (Indeed, the defendants point out
that the case law construes the term as “‘configured to’ or
‘capable of’” without saying which definition should control
here.) If further developments in the case (such as summary
judgment practice or trial) require this court to choose whether
“adapted to” means “designed to” or simply “capable of,” the
court will make that decision at the appropriate time. See Vivid
Techs., Inc. v. Am. Science & Eng’g, Inc., 200 F.3d 795, 803
(Fed. Cir. 1999) (“only those terms need be construed that are in
controversy, and only to the extent necessary to resolve [the
controversy]”).

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connected end outwardly and downwardly of the left end portion to

be in electric contact with the support.”6

     As an initial matter, this argument appears to “confuse

exemplars or preferred embodiments in the specification that

serve to teach and enable the invention with limitations that

define the outer boundaries of claim scope,” which is

impermissible.   Intervet, 617 F.3d at 1287.   In any event, the

specification also discloses third and fourth preferred

embodiments in which the first electric contact body is

“separable from the housing.   An additional insulating plug is

provided to be fitted into the opening end of the housing to

serve as the left end portion” (emphasis added).   In these

embodiments, the terminal is connected to the contact body

“through a through hole in the insulating plug,” with “a terminal

end that extends . . . outwardly of the insulating plug and bent

downwardly of the housing to be in electric contact with the

support.”   Importantly, this terminal is not “an integrally

formed extension of the housing itself,” since it extends from

the electric contact body (which, again, is “separable from the

housing”) through an insulating plug which is itself “fitted into



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     The second preferred embodiment also discloses “a first
electric terminal [that] is integrally formed with the housing,
and has a terminal end which extends outwardly and downwardly of
the lower wall.”

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the opening end of” (and therefore, like the contact body, not

“integrally formed of”) the housing.

     The specification, then, explicitly discloses preferred

embodiments in which the housing connects to the support by way

of a terminal extending from a “separable” contact body--as

opposed to the “integrally formed” terminal disclosed in the

embodiments on which SignalQuest relies.   So construing the claim

to exclude any “separate and removable item connecting the

housing to the support,” as SignalQuest urges, would exclude two

of the preferred embodiments disclosed in the patent--as

SignalQuest acknowledges.   And “[a] claim construction that

excludes [a] preferred embodiment ‘is rarely, if ever correct.’”

Adams Respiratory Therapeutics, Inc. v. Perrigo Co., 616 F.3d

1283, 1290 (Fed. Cir. 2010) (quoting Vitronics Corp. v.

Conceptronic Inc., 90 F.3d 1576, 1583-84 (Fed. Cir. 1996)).

     Of course, “rarely” does not mean “never,” and, at the

hearing, SignalQuest pointed to a few cases where the Court of

Appeals for the Federal Circuit has construed a patent to exclude

one of its preferred embodiments.    See August Tech. Corp. v.

Camtek, Ltd., 655 F.3d 1278, 1285 (Fed. Cir. 2011); Rolls-Royce,

PLC v. United Techs. Corp., 603 F.3d 1325, 1334-35 (Fed. Cir.

2010); TIP Sys., LLC v. Phillips & Brooks/Gladwin, Inc., 529 F.3d

1364, 1373 (Fed. Cir. 2008).   In these cases, however, “to


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construe the term to encompass [an] alternative embodiment would

contradict the language of the claims,” TIP Sys., 529 F.3d at

1373; see also August Tech., 655 F.3d at 1284-85 (rejecting a

construction which, while necessary to encompass one of the

disclosed embodiments, “renders [the] difference between the

singular and the plural terms [in the claim] superfluous”), or

otherwise lead to an “unreasonable” result, Rolls-Royce, 603 F.3d

at 1335 (rejecting such a construction as “because the single

claimed direction ‘forward’ would then encompass two directions

at right angles to each other”).7    Here, no such problems arise

from construing the phrase “a housing adapted to be mounted on

the support,” as it appears in claim 1, to include a housing that

connects to the support by way of the terminal running through

the insulating plug to the separable contact body, as disclosed

by the third and fourth preferred embodiments.

     Finally, SignalQuest’s proposed construction of the phrase

“adapted to be mounted” in claim 1 would also read a limitation

into it which is expressly spelled out in one of its dependent

claims.   Specifically, claim 7 discloses (by reference to other


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     To similar effect, when faced with “multiple embodiments”
(as is the case here), the Court of Appeals for the Federal
Circuit has “interpreted claims to exclude embodiments where
those embodiments are inconsistent with unambiguous language”
elsewhere in the patent (which, as just discussed, is not the
case here). Sinorgchem Co., Shangdong v. ITC, 511 F.3d 1132,
1138 (Fed. Cir. 2007).

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claims) the same vibration switch as claim 1, except that (in

addition to other limitations) “said housing is made from an

electrically conductive material and said first electric contact

body and said first electric terminal are integrally formed with

said housing” (emphasis added).    As the defendants point out,

“the doctrine of claim differentiation disfavors reading a

limitation from a dependent claim into an independent claim” in

this manner.   Virnetx, Inc. v. Cisco Sys., Inc., 767 F.3d 1308,

1316 (Fed. Cir. 2014).   The doctrine proceeds from the

presumption of “a difference in meaning and scope when different

words and phrases are used in separate claims.    To the extent

that the absence of such difference in meaning would make a claim

superfluous, the doctrine of claim differentiation states the

presumption that the difference between claims is significant.”

Andersen Corp. v. Fiber Composites, LLC, 474 F.3d 1361, 1369

(Fed. Cir. 2007) (quotation marks omitted).

     SignalQuest argues that “the doctrine is not implicated

because the challenged limitation . . . is not the only

meaningful difference between the two claims.”    In particular,

SignalQuest asserts, claim 7 includes an additional limitation,

beyond the “integrally formed” terminal and housing, i.e., that

the housing be “electrically conductive.”    As discussed in more

detail below, however, SignalQuest also proposes to read that


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very same limitation into claim 1.    See infra Part II.A.2.

Implementing these two aspects of SignalQuest’s proposed

construction--that the terminal and housing be “integrally

formed” and the housing be “electrically conductive”--would

indeed give claim 1 the same scope as claim 7, one of its

dependent claims.   In other words, to use SignalQuest’s language,

adopting its “challenged limitations” (plural) would eliminate

“the only meaningful differences” (plural) that it has identified

between claims 1 and 7.8   That is at odds with the doctrine of

claim differentiation, as just discussed.

     SignalQuest also argues that the doctrine of claim

differentiation is not “a hard and fast rule.”    That is correct:

as already noted, the doctrine simply creates a presumption

against arriving at the same construction for differently worded

claims.   See, e.g., Andersen Corp., 474 F.3d at 1369.    Here,

though, SignalQuest has not identified anything to overcome the

presumption that the limitations of claim 7, requiring an

“integrally formed” terminal and housing, and an “electrically

conductive housing,” should not be read into claim 1.    As already

discussed, a terminal that is “integrally formed” of the housing

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     While this problem would be avoided if the court adopted
SignalQuest’s construction of just one of these terms,
SignalQuest has not requested that relief and, in any event, the
court declines to adopt SignalQuest’s proffered interpretation of
either of these terms. See infra Part II.A.2.

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does not necessarily follow from claim 1’s teaching that the

housing is “adapted to be mounted on the support,” and two of the

four preferred embodiments in the specification disclose switches

where the terminal connects to the support yet is “separable”

from the housing.   Accordingly, the court rejects SignalQuest’s

proffered construction of claim 1 to require that “an integrally

formed extension of the housing itself,” rather than any

“separate or removable item,” mounts on the support.


     2.   “housing”

     While both SignalQuest and the defendants agree that the

term “housing,” as it appears in claim 1, means “enclosure,” they

disagree on whether the enclosure must also be “electrically

conductive.”   SignalQuest insists that it must, relying

principally on the fact that--in teaching the first preferred

embodiment of the invention--the specification describes the

housing as “made from an electrically conductive material.”

Again, however, the court must guard against reading limitations

from the specification’s teaching of a preferred embodiment into

the claims themselves.   See Abbott Labs., 566 F.3d at 1288.

     But neither must the court ignore the specification in

construing the claims, see id., and, seizing on this principle,

SignalQuest argues that the patent “provides no alternative to

the conductive housing called for in the specification,” because

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it nowhere “reference[s] a housing that is not electrically

conductive.”   Of course, the patent--like any patent necessarily

bound by limitations of time and space in its drafting--“fails”

to specify many characteristics that the invention, or its

elements, does not have, so this argument does not go very far.

To the contrary, courts usually may not

     add a narrowing modifier before an otherwise general
     term that stands unmodified in a claim. For example,
     if an apparatus claim recites a general structure
     (e.g., a noun) without limiting that structure to a
     specific subset of structures (e.g., with an
     adjective), [courts] will generally construe the claim
     to cover all types of that structure that are supported
     by the patent disclosure.

Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1249-

50 (Fed. Cir. 1998) (citations omitted).

     In any event, the specification in fact discloses preferred

embodiments (namely, the third and fourth) in which the electric

contact bodies, which are “separable” from the housing, have

terminals that extend through insulating plugs before bending

“downwardly of the housing to be in electric contact with the

support.”   As the defendants explain, this configuration allows

current to flow through the contact bodies (and, when the switch

is in the “on” position, the electrically conductive rollable

bodies) and terminals to the support and, as such, eliminates any

need for the body of the housing to be electrically conductive.



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     SignalQuest does not dispute this point, which serves to

show that, in fact, the specification discloses embodiments in

which the housing need not itself be electrically conductive.

SignalQuest has provided no basis, then, for reading into claim 1

the requirement that the housing be “electrically conductive.”

In addition, as already discussed, claim 7 specifically describes

a switch “wherein said housing is made of electrically conductive

material,” so adopting SignalQuest’s proffered construction of

“housing” (at least while also adopting its proffered

construction of “adapted to be mounted”) in claim 1 would result

in an independent claim with the same scope as one of its

dependent claims--a disfavored result.    See Part II.A.1, supra.

Accordingly, this court rejects SignalQuest’s proffered

construction of the term “housing” in claim 1 to require an

“electrically conductive enclosure,” and reads it simply to

require an “enclosure.”


     3.   “accommodation chamber”

     The parties also dispute the proper construction of claim

1’s teaching that the housing “includ[es] an upper wall and a

lower wall spaced apart from each other in the upright direction

to confine an accommodation chamber.”    SignalQuest argues that

the accommodation chamber must be “confined by an upper wall and

a lower wall spaced apart from each other in the upright

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direction, a left end portion, and a right end portion.”     The

defendants argue that the “accommodation chamber” is merely “a

space with walls,” eliminating any need for the “left end

portion” and the “right end portion” urged by SignalQuest.9

     As support for their reading, the defendants rely on the

language of claim 1, which, as just quoted, discloses “an upper

wall and a lower wall spaced apart from each other in the upright

direction” as the elements that “confine an accommodation

chamber”--without mentioning any right end or left end portion.

This argument, however, ignores the import of the term “chamber”

itself, which is not ordinarily used to describe a space confined

by only two walls (or at least two walls that are “spaced apart

from each other” so that they do not intersect).    To the

contrary, “[t]he plain and ordinary meaning of chamber is an

enclosed space or cavity.”   Agilent Techs., Inc. v. Affymetrix,

Inc., No. 06-5958, 2008 WL 7348188, at *6 (N.D. Cal. June 13,

2008) (quotation marks omitted).     A space between only two walls

is not “enclosed,” nor, for that matter, is it “confined.”




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     While the defendants further assert that the accommodation
chamber “need not be vertical at any instance,” SignalQuest does
not respond to this assertion in its claim construction briefing.
Given the apparent absence of a dispute over this alleged
requirement, the court need not address it at this time. See
n. 5, supra.

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     Based on the plain and ordinary meaning of the word

“chamber,” then, the court rejects the defendants’ proffered

construction of the term “accommodation chamber” as simply “a

space with walls.”   Instead, the court adopts SignalQuest’s

proposal that the term means “a chamber confined by an upper wall

and a lower wall spaced apart from each other in the upright

direction, a left end portion, and a right end portion.”

     This reading gains additional support from the

specification, which, in discussing the first preferred

embodiment, teaches that “[t]he housing has an upper wall and a

lower wall spaced apart from each other in the upright direction,

a left end portion which is integrally formed with the upper and

lower walls, and a right end portion which is configured as an

insulating plug that is fitted into an opening end cooperatively

defined by the upper and lower walls, thereby confining an

accommodation chamber” (emphasis added).   This sentence clearly

identifies the upper and lower wall, the left end portion, and

the right end portion as the elements that “confine” the

accommodation chamber--as any “chamber” must be confined.

     Furthermore, the other preferred embodiments disclosed in

the specification do not teach any configuration of the

accommodation chamber that excludes end portions.   The third

preferred embodiment, in fact, features an “insulating plug


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[that] is provided to be fitted into an opening end of the

housing to serve as the left end portion” (emphasis added).

Because the plain and ordinary meaning of the term “accommodation

chamber” as it appears in claim 1 requires end portions as well

as upper and lower walls, and the specification only reinforces

that meaning, the court adopts SignalQuest’s proffered

construction of “accommodation chamber” as “a chamber confined by

an upper and lower wall spaced apart from each other in the

upright direction, a left end portion, and a right end

portion.”10


     4.   “disposed in said accommodation chamber”

     Claim 1 teaches that, in addition to the housing, the

vibration switch is comprised of “first and second electric

contact bodies which are disposed in said accommodation chamber.”

SignalQuest argues that this phrase requires the electric contact

bodies to be “entirely located within the accommodation chamber,”


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      Relying on the third preferred embodiment, the defendants
argue that the left end portion need not be “integrally formed
with the upper and lower walls” as taught in the first preferred
embodiment. While SignalQuest originally argued that the term
“accommodation chamber” required the left end portion to be
integrally formed with the upper and lower walls, it retreated
from that position in its responsive claim construction brief.
Given this development, the court need not decide whether the
term “accommodation chamber” requires the end portions to be
integrally formed with the upper and lower walls--only whether,
as SignalQuest now argues, the end portions are required.

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while the defendants argue that the bodies need only be “at least

partly inside the accommodation chamber.”     The defendants have

the better argument.

       As an initial matter, the plain and ordinary meaning of the

phrase “disposed in” does not require its subject to be “entirely

located”--or, it might be said, “subsumed”--within its object.

The plain and ordinary meaning of “disposed in” is simply “placed

in.”    Indeed, elsewhere in the patent, the term “disposed in” is

used in this sense:    the “summary of the invention” section of

the patent teaches that the “switch is adapted to be disposed in

electric contact with a support.”     There is, of course, a

“general requirement that claim terms be construed consistently

throughout a patent.”    Joovy LLC v. Target Corp., 437 Fed. Appx.

932, 937 (Fed. Cir. 2011) (citing Rexnord Corp. v. Laitram Corp.,

274 F.3d 1336, 1342 (Fed. Cir. 2001)).

       SignalQuest argues that, regardless, “[n]owhere in the

specification or figures is the concept of the electric contact

bodies being partly located within the accommodation offered or

suggested.”    Again, though, it is the claims, not the

specification and its illustrations, that define the scope of the

invention.    Intervet, 617 F.3d at 1287.   In any event, the

specification discloses, as the first preferred embodiment, a

configuration in which “[t]he first electric contact body is


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integrally formed with the left end portion, and is disposed in

the accommodation chamber.”   In this configuration, as the

defendants point out, the outer faces of the contact body also

constitute the outer faces of the left end portion, so that the

contact body is not “entirely located within the accommodation

chamber” (instead, its outer faces form the outer portion of the

chamber and are therefore outside of it).   Because neither the

plain and ordinary meaning of the claim language itself, nor the

specification, supports SignalQuest’s proffered reading of the

term “disposed in” as “entirely located within,” the court

rejects that construction, and adopts the defendants’ proffered

reading of the term, i.e., “at least partly inside.”


     5.   “rolling surfaces”/“tangential areas”

     Claim 1 further teaches that the aforementioned first and

second electric contact bodies

     respectively have first and second rolling surfaces
     that are spaced apart from each other along a
     centerline oriented in one of the upright direction and
     a longitudinal direction that is transverse to the
     upright direction, said first and second rolling
     surfaces respectively defining first and second
     farthermost areas which are spaced apart from each
     other by a first length along a centerline, and
     respectively defining first and second tangential areas
     being spaced apart from each other by a distance that,
     when projected as a longitudinal line in the
     longitudinal direction, is equivalent to a second
     length.



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The parties dispute the meanings of a number of terms from this

description of the contact bodies.    In essence, SignalQuest reads

the description to exclude the “tangential areas” from the

“rolling surfaces” such that “[t]he first and second rolling

surfaces define outer perimeters that border the first and second

tangential areas respectively.”11    The defendants, however, argue

that the “tangential areas” are in fact part of the “rolling

surfaces,” i.e., the “areas of [the] rolling surfaces contacted

by the rolling bodies when [the] rolling bodies touch.”

     The text and structure of the claim language support the

defendants’ proffered construction.    As an initial matter,

“tangential” is commonly and ordinarily used to refer to a

spatial relationship in which forms touch at their peripheries,

or outer edges.   To describe an “area” as tangential to a

“surface,” then, indicates that the surface and the area share

some space in common and, as a consequence, are not entirely

distinct.   Indeed, claim 1 states that the first and second

rolling surfaces “respectively defin[e] first and second


     11
      SignalQuest further asserts that the tangential area of
each electric contact body “does not meet or cross the
centerline.” In their reply brief, the defendants agree,
describing the tangential areas as “basically upright rings which
extend around the centerline in a plane transverse to the
centerline. Therefore, of course, they never cross the
centerline.” This aspect of SignalQuest’s proffered
construction, then, is not in dispute, so the court need not rule
on it. See n. 5, supra.

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tangential areas.”   One would not normally speak of a surface

“defining” an area yet remaining entirely distinct from it.

While, as SignalQuest points out, “defining a border of a thing

. . . defines the limits of that thing,” it does not follow that

what defines the border remains separate from the area defined.

In any event, claim 1 does not say that the rolling surfaces

“define the borders”--or, to quote from SignalQuest’s proffered

construction, “define outer perimeters”--of the tangential areas,

but simply that the surfaces “defin[e]” the areas themselves.

“[A]n analysis that adds words to the claim language without

support in the intrinsic evidence . . . does not follow the

standard canons of claim construction.”   Source Vagabond Sys.

Ltd. v. Hydrapak, Ltd., 753 F.3d 1291, 1299 (Fed. Cir. 2014)

(quotation marks and bracketing by the court omitted).

     SignalQuest argues that the intrinsic evidence, namely, the

illustrations, in fact supports reading “rolling surfaces” to

exclude the tangential areas.   It is true that, in several of the

cross-sectional figures, the “tangential area” is labeled as a

segment of the contact body shown at a right angle to the

semicircular curve labeled as the “rolling surface.”   But it is

far from clear from the cross-sectional drawings whether the

labeling of each respective rolling surface and tangential area

excludes the point at which they touch--which, in a three-


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dimensional rendering, would form an entire ring that is

unaccounted for in SiganlQuest’s attempt to divide the contact

body into a rolling surface and a tangential area.   The

configuration in the drawings, moreover, is nowhere described in

the text of the patent, either in the specification or, more

importantly, the language of claim 1 itself (which, again, states

simply that the rolling surfaces “define” the tangential areas).

And “the mere fact that the patent drawings depict a particular

embodiment of the patent does not operate to limit the claims to

that specific configuration.”   Anchor Wall Sys., Inc. v. Rockwood

Retaining Walls, Inc., 340 F.3d 1298, 1306-07 (Fed. Cir. 2003).

     SignalQuest also relies on claim 1’s teaching that, “when

the support on which [the] housing is mounted stands still, [the]

first and second electrically conductive rollable bodies . . .

respectively abut against [the] first and second tangential areas

by virtue of gravity.”   Because “‘[a]but against’ is not the same

as ‘roll on,’” SignalQuest argues, it follows that the rolling

surfaces exclude the tangential areas.   As the defendants point

out, however, when the switch becomes unsteady, each rollable

body necessarily begins to “roll” at the point where it is at

rest when the switch is in a steady state.   The fact that the

bodies “abut” the tangential areas, then, does not support




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SignalQuest’s effort to read claim 1 to segregate those areas

from the rolling surfaces.

     In sum, the text and structure of claim 1 do not support

SignalQuest’s proffered construction of “tangential areas” as

“not being part of the rolling surfaces” or “rolling surfaces” as

“not including the tangential areas.”   To the contrary, the plain

and ordinary meaning of those terms, as used in the claim, aligns

with the defendants’ proffered construction:    “tangential areas”

means the areas of the rolling surfaces contacted by the rolling

bodies when the rolling bodies touch, and “rolling surfaces”

means the surfaces on which the rolling bodies roll.


          6.    “farthermost area”

     Again, claim 1 states that the “first and second rolling

surfaces respectively defin[e] first and second farthermost areas

which are spaced apart from each other by a first length along a

centerline.”   The claim further teaches that

     once the support is caused to quiver in an unsteady
     state, [the] first and second electrically conductive
     rollable bodies will be caused to lurch towards one
     [the] first and second farthermost areas so that one of
     [the] first and second electrically conductive rollable
     bodies is out of contact with a corresponding one of
     [the] first and second rolling surfaces which defines
     the other one of [the] first and second farthermost
     areas, thereby breaking the electric contact between
     [the] first and second electric contact bodies.




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SignalQuest argues that each “farthermost area” is “the point of

the [respective] rolling surface that is furthest from the

[opposite] rolling surface and furthest from [the same]

surrounding region” (e.g., the “first farthermost area is the

point of the first rolling surface that is furthest from the

second rolling surface and furthest from the first surrounding

region”).   But the defendants argue that the farthermost areas

are simply the “[a]reas where the bodies are spaced apart.”

     The plain and ordinary meaning of “farthermost” is simply

“farthest,” as in “most distant.”     Because, again, claim 1 states

that the first and second rolling surfaces “respectively defin[e]

first and second farthermost areas which are spaced apart from

each other by a first length along a center line,” the

description of those areas as “farthermost” indicates that they

are, as SignalQuest suggests, the area of each rolling surface

that lies at the greatest distance from the other.    But the claim

language does not fully support SignalQuest’s proffered

construction of “farthermost area” as “the point of the

[respective] rolling surface that is furthest from the [opposite]

rolling surface,” because an “area,” by definition, is not a

“point.”    Cf. SecurityPoint Holdings, Inc. v. United States, 111

Fed. Cl. 1, 8-9 (Fed. Cl. 2013) (declining to read the claim

terms “proximate end” and “distal end” to refer to “a precise


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point as compared to a more general area at the extent or

boundary of something”).    Nor is there any support in the claim

language for SignalQuest’s additional proposed limitation, i.e.,

that each farthermost area is also the “point . . . that is

farthest from [the same] surrounding region,” since, again, an

“area” is not a “point,” and, for that matter, the term

“surrounding region” does not appear in claim 1, but only in

dependent claim 3.    As already noted, courts generally avoid

reading limitations from a dependent claim into an independent

claim in this manner.    See Virnetx, 767 F.3d at 1316.

     The court agrees with SignalQuest, however, that the

defendants’ proposed construction of “farthermost areas” as

merely “areas where bodies are spaced apart” does not quite do

the trick either.    Again, claim 1 teaches that the first and

second electric contact bodies “have first and second rolling

surfaces that are spaced apart from each other along a

centerline,” but that these rolling surfaces in turn “define

first and second farthermost areas which are spaced apart from

each other by a first length along the centerline.”    Claim 1 goes

on to state that the “sum of the first width and the second

widths” of the rollable bodies is “smaller than the first length

and larger than the second length” (the “second length” is the

distance between the tangential areas “when projected on a


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longitudinal line in a longitudinal direction”).    It follows that

the farthermost areas are not merely the “areas where the

[electric contact bodies] are spaced apart,” but where they are

spaced apart by the “first length.”   This construction receives

additional support from the only figures from the patent that

label the farthermost areas:   those figures place the farthermost

areas at either end of the first length.

     “In construing a patent, this court’s ‘task is not to decide

which of the adversaries is correct’ in its proffered

interpretation, but to fulfill the court’s ‘independent

obligation to determine the meaning of the claims,

notwithstanding the views asserted by the adversary parties.’”

Best Mgmt. Prods., Inc. v. New Eng. Fiberglass, L.L.C., 2008 DNH

099, 2 n.2 (quoting Exxon Chem. Patents, Inc. v. Lubrizol Corp.,

64 F.3d 1553, 1555-56 (Fed. Cir. 1995)).   Doing so here, the

court construes “farthermost area” to mean the area defined by

each rolling surface that is distant from the other rolling

surface by the first length.


     B.   Dependent claims

          1.   “integrally formed” (claims 7, 10)

     As already noted, dependent claim 7 (as well as dependent

claim 10) disclose a switch wherein the “first electric contact



                                28
body and [the] first electric terminal are integrally formed with

[the] housing.”   See Part II.A.1, supra.   SignalQuest argues that

this means the contact body and terminal are “formed as an

extension of, and not separable from,” the housing, while the

defendants argue that “integrally formed” simply means “united.”

     As the defendants point out, the plain and ordinary meaning

of “integral” is simply “formed as a unit with another part,” as

the Court of Appeals for the Federal Circuit has recognized.

Vanguard Prods. Corp. v. Parker Hannifin Corp., 234 F.3d 1370,

1371-72 (Fed. Cir. 2000) (construing “integral therewith”).     The

plain and ordinary meaning of “integrally formed,” then, would

seem to be the same, i.e., “formed as a unit.”   Here, then,

claims 7 and 10 require simply that the first electric contact

body and first electric terminal are formed as a unit with the

housing.   There is no support for the additional limitation urged

by SignalQuest, i.e., that the contact body and terminal are also

an “extension” of and are “not separable” from the housing.

While SignalQuest (as it does in support of many of its proffered

constructions) relies on certain of the patent’s accompanying

drawings, those two figures provide no indication as to whether

the contact body and terminal are “separable” from the housing

and, again, drawings generally should not be used to limit the

plain and ordinary meaning of claim language.    See Anchor Wall


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Systems, 340 F.3d at 1306-07.   Accordingly, the court construes

the requirement in dependent claims 7 and 10 that the “first

electric contact body and [the] first electric terminal are

integrally formed with [the] housing” to require simply that the

first electric contact body and first electric terminal are

“formed as a unit” with the housing.


          2.   “surrounding regions” (claim 3)

     As also already noted, see Part II.A.6, supra, claim 3

describes a switch “wherein [the] first and second tangential

areas extend to surround the centerline so as to form first and

second surrounding regions, respectively.”   SignalQuest argues

that the “surrounding regions” are the “surfaces covered only by

the first and second tangential areas,” while the defendants

argue that the term means simply the “portions”--the defendants

do not say of what--“extending around the centerline.”

     The language of dependent claim 3 clearly describes the

“surrounding regions” as “exten[sions]” of the tangential areas

beyond their definitions as set forth in independent claim 1.

Accordingly, if SignalQuest means by its proffered construction

that the surrounding regions are the same as the tangential

areas, then that construction cannot be correct.   In the few

sentences of its briefing that it devotes to its proffered

interpretation of “tangential areas,” SignalQuest does not

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identify any support for it--aside from references to one of the

drawings, a cross-section view which does not separately identify

the “surrounding regions” and would therefore appear irrelevant

to their proper definition.   In accordance with the plain

language of claim 3, then, the court construes “surrounding

regions” as extensions of the tangential areas that surround the

centerline.


III. Conclusion

      For the reasons set forth above, the court adopts the

foregoing constructions of the disputed claim terms.


      SO ORDERED.



                               ____________________________
                               Joseph N. Laplante
                               United States District Judge
Dated: February 4, 2015

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                                   31
